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                   IN THE UNITED STATES DISTRICT COURT
            WESTERN DISCTRICT OF WASHINGTON– SEATTLE DIVISION

LOZANO ET AL,


         Plaintiffs/Respondents

v.
                                                      Civil Misc. Action No. 2:22-mc-00078
DOES I-X, ET AL,
                                                      Judge Robert S. Lasnik
         Defendants,

v.

BIRCH,

           Petitioner.



               MEMORANDUM IN OPPOSITION TO PETITIONER’S
    MOTION TO QUASH THIRD-PARTY SUBPOENA AND FOR PROTECTIVE ORDER

                                           Introduction

         The issue before the Court is to determine whether Petitioner Stefania Ramos Birch

(“Birch”) has demonstrated grounds exist under Fed. R. Civ. P. 45(d) that allow her to avoid

responding to the third-party subpoena Respondents Alexandra Lozano, Angelyne Lisinski, and

Giulia Fantacci (collectively, “Respondents”) served on Birch on September 16, 2022, in

Lynnwood, Washington (the “Subpoena”). In Birch’s Motion to Quash Third-Party Subpoena

and for Protective Order (“Motion” or “Mot”, Doc. 1), Birch offers argument, but virtually no

evidence to that effect. 1 This is because the Subpoena is properly limited in scope, and is in



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        The Motion well exceeds the twelve-page limit required under LCR 7(e), and Ms. Birch
did not seek leave to file an over-length motion. Therefore, pursuant to LCR 7(g), Respondents
respectfully request that the Court strike and/or disregard all argument starting on Page 13 of the
Motion. Due to the page restrictions, Ms. Birch’s argument regarding personal jurisdiction, and
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compliance with all the requirements of Fed. R. Civ. P. 45.

       Instead, Birch argues that because the Southern District of Ohio (the issuing court) lacks

personal jurisdiction over Birch, she is not required to comply with the Subpoena. (Motion at

13-14). Birch misses the point: Whether the Southern District of Ohio has personal jurisdiction

over her has literally nothing to do with her duty to comply with the subpoena pursuant to Fed.

R. Civ. P. 45. As this Court is well aware, the extensive amendments to Fed. R. Civ. P. 45

enacted in 1991 and 2013, expressly permit nationwide service of third-party subpoenas. The

case law that Birch relies upon is outdated and inapposite. At its core, Birch’s argument is

incorrect because the Subpoena’s “place of compliance” (and the forum for enforcement) as

defined in Fed. R. Civ. P. 45, is in this very district, the Western District of Washington, which

undoubtedly has personal jurisdiction over Birch. Thus, Birch’s argument is without merit, and

the Respondents respectfully request the Court deny Birch’s Motion in its entirety and order her

compliance with the perfectly valid subpoena.

                                      Factual Background

       A.      Respondents Are The Target Of A Two-Year Defamatory Harassment
               Campaign By Anonymous Online Detractors And Competitors.

       As alleged in their Complaint (Mot. Exh. E, Doc. 1-5), Respondents are immigration

attorneys who operate their own successful law firms. They each have specialized knowledge of

Violence Against Women Act (“VAWA”) visas and Victims of Trafficking in Person or “T”

visas, which are misunderstood and underutilized. (Compl. ¶ 10). In or around August 2020,

Respondents became the target of a defamatory, discriminatory harassment campaign by

anonymous individuals online (the “Doe Defendants”). (Id. ¶ 27). At the start, the Doe



her request for a protective order are not properly before the Court. This alone is basis for
denying Ms. Birch the relief she requests. See LCR 7(e)(6).
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Defendants targeted Respondents’ accounts on the social media platform TikTok, Inc.

(“TikTok”). (Id.) The campaign was aimed at disrupting Respondents’ ability to educate

potential clients about VAWA and T visas, and prohibit Respondents from marketing their

services. The campaign also defamed Respondents by painting their ethical and successful legal

practices as illegal and scams. The campaign escalated to the point where each of Respondents

were banned by TikTok at multiple times over the last year due to these defamatory and

harassing efforts by Defendants. (Id. ¶¶ 31-32, 34, 41, 46-47, 52).

       Doe Defendants then spread their campaign to other social media platforms. (Id. ¶ 56).

For example, Doe Defendants have reported marketing content, paid advertising, and organic

posts on Facebook, and have spammed review websites such as Facebook and Google, all in an

unlawful campaign purposely designed to disrupt Respondents’ ability to help the undocumented

immigrant population. (Id.). Doe Defendants then escalated their attacks on Respondents by

creating imposter accounts on social media platforms to further dissuade members of the

undocumented community from trusting and utilizing Respondents’ services. (Id. ¶ 57). These

imposter accounts, using Respondents’ trademarks, have contacted Respondents’ current and

prospective clients, requesting money, and making defamatory comments. (Id. ¶¶ 58-68).

       B.      Respondents Have Been Unable to Identify Their Anonymous Harassers,
               And Were Therefore Granted Leave To Serve Third Party Subpoenas.

       Because the attacks have been conducted online, through third party platforms, and

anonymously, Respondents have been unable to ascertain the identities of their harassers. The

only way Respondents can obtain the names of the individuals who are methodically and

tortuously damaging Respondents each day is through third party subpoenas. Therefore,

Respondents sought leave from the Southern District of Ohio (where the Complaint is pending)

for limited discovery to determine the identity of the individuals promulgating the defamatory

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statements concerning Respondents. The Southern District of Ohio granted Respondents leave

to issue third party subpoenas, including subpoenas to individuals known to Respondents who

are believed to be connected to the defamation and infringement campaign, and who are believed

to know the identities of the individuals defaming Respondents. (Opinion and Order, Aug. 12,

2022, Mot. Exh. D, Doc. 1-4). This includes Petitioner Birch.

       C.      Petitioner Birch Has Heard Defamatory Statements Regarding Respondents.

       Birch’s Motion makes clear that Birch, at the very least, has heard defamatory statements

concerning Respondents and thus had information directly relevant to the subpoena and

Respondents’ lawsuit. To begin, Birch claims that she has heard Lozano charges $12,000 for her

legal services, and encourages her clients to lie to qualify for immigration status. (Mot. at 3).

These allegations closely align with defamatory remarks that have been made about Plaintiff

Lozano. Birch also implies that Lozano tells “most” prospective clients they are eligible for

VAWA or T-Visas, which is simply not true. (Id.). Birch notes that she is aware of

“immigration practitioners” who have publicly criticized (and defamed) Lozano, thereby outright

admitting that she knows of individuals who have engaged in the very conduct alleged in

Respondents’ Complaint. (Id. at 3-4). Evidently, someone told Birch this false information, and

that someone may very well be the Doe Defendant(s) Respondents were granted discovery to

identify. At bottom, Birch plainly has heard false and defamatory information regarding the

Respondents, as she repeated some of those false statements in her Motion and attached

declaration. Accordingly, Birch has information that is relevant to Respondents’ lawsuit.

       D.      Ms. Birch Did Not Meet and Confer With Respondents’ Counsel Regarding
               Her Objections to the Subpoena Before Filing this Motion.

       Birch was served with the Subpoena on September 16, 2022. (Decl. of K. Fraser, Oct.

17, 2022 at ¶ 5, attached as Exh. 1, hereinafter “Fraser Decl.”). Birch called counsel for

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Respondents that same day, and counsel explained to Birch the document requests and the types

of communications Respondents were seeking, and also readily agreed to accommodate Birch’s

pregnancy. (Id. ¶ 5). Birch and counsel for Respondents communicated via email on September

21, 22, 23, and 27, 2022, regarding scheduling Birch’s deposition at a time that would be best for

Birch, and also setting a deadline for document production. (Id. ¶¶ 6-8). At no time did Birch

voice any objections to the Subpoena’s scope, or seek to confer regarding the same; instead,

Birch gave every appearance of being cooperative. (Id. ¶ 9). Then, Birch filed the instant

Motion without any notice to counsel. (Id. ¶ 10). This Motion is nearly identical to a motion to

quash filed in the Southern District of Texas by a different third party witness against

Respondents. (Id.). Respondents have since discovered that a group of immigration lawyers are

coordinating to stonewall Respondents’ discovery of the identities of their harassers. (Id. ¶ 11).

The conduct that Birch and others are engaging in is remarkably similar to the conduct that

Respondents’ complain of in their Complaint and appears to be more evidence of collusion

against Respondents in their efforts to stop the daily harassment they face.

                                          Legal Standard

        Fed. R. Civ. P. 45(d)(3) requires a subpoena be quashed or modified when the subpoena:

(i) fails to allow reasonable time to comply; (ii) requires a person to comply beyond the

geographical limits specified in Rule 45(c); (iii) requires disclosure of privileged or protected

matter, if no exception or waiver applies; or, (iv) subjects a person to undue burden. “A movant

must state specific reasons why a subpoena should be quashed; simply making a general

assertion is inadequate.” Geller v. von Hagens, 278 F.R.D. 572, 575 (S.D. Cal. 2011)

       To evaluate undue burden, courts examine the relevance of the information requested, the

need for the requested documents, the breadth of the request, the time period covered by the



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request, the particularity with which the party describes the relevant documents, and the burden

imposed. Russell v. Zoellin, No. C18-0827-JCC, 2019 WL 1989654, at *1 (W.D. Wash. May 6,

2019). The moving party carries the burden of proof. See id.

                                            Argument

       The Court should deny Birch’s Motion because Birch’s personal jurisdiction argument is

fundamentally incorrect. Second, Birch provides argument, but no evidence that compliance

with the Subpoena presents an undue burden or that there is some other basis under Fed. R. Civ.

P. 26 to enter a protective order. Further, Birch failed to meet and confer with Respondents’

counsel prior to filing her motion for protective order, in violation of LCR 26(c)(1), warranting

denial of her request. Therefore, the Court should deny the Motion in its entirety and Birch

should be made to produce documents and sit for the requested deposition at the conclusion of

her maternity leave.

       A.      Fed. R. Civ. P. 45 Addresses Petitioners’ Personal Jurisdiction Concerns,
               Rendering Petitioner’s Argument Moot.

       The primary argument Birch forwards in support of her Motion is that complying with

the Subpoena presents an undue burden because she is not subject to personal jurisdiction in the

Southern District of Ohio. This argument misses the mark, because Respondents are not seeking

compliance with a Subpoena in the Southern District of Ohio. They are seeking compliance in

the Western District of Washington, pursuant to Fed. R. Civ. P. 45. The Western District of

Washington does have personal jurisdiction over Birch. As such, there is no undue burden in

complying with the Subpoena, and the motion should be denied.

               1.      The Court Responsible For Enforcing Subpoenas Issued By A Federal
                       Court Has The Jurisdiction To Compel Compliance.

       A federal court’s subpoena power is not limited to individuals only subject to personal



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jurisdiction in that court. The Court need only to consult the language of Fed. R. Civ. P. 45 to

see that this is so. The rule references the “issuing court” and the “place of compliance.” The

issuing court is the court where the action is pending. See Fed. R. Civ. P. 45(a)(2). The place of

compliance must be within 100 miles of where the person, resides, is employed, or regularly

transacts business. See id. at 45(c). Notably, the issuing court need not be within 100 miles of

where the person resides, is employed, or regularly transacts business. Indeed, if the issuing

court is not within 100 miles of where the person resides, is employed, or regularly transacts

business, then the court for the district where compliance is required is charged with enforcing

the subpoena. See id. at 45(d), (g). In other words, the court for the district where compliance is

required is the court that compels a party to respond to a subpoena, that quashes subpoenas, and

holds noncompliant parties in contempt.

       By definition, the court for the district where compliance is required has personal

jurisdiction over a subpoenaed person because it is where the subpoenaed person resides, is

employed, or regularly transacts business. Residing, being employed in, or regularly transacting

business in a forum certainly satisfies the minimum contacts and due process requirements of the

United States Constitution. See Int'l Shoe Co. v. State of Wash., Off. of Unemployment Comp. &

Placement, 326 U.S. 310, 316, 66 S. Ct. 154, 158, 90 L. Ed. 95 (1945) (“[D]ue process requires

only that in order to subject a defendant to a judgment in personam . . . he have certain minimum

contacts with it such that the maintenance of the suit does not offend traditional notions of fair

play and substantial justice”). Therefore, Fed. R. Civ. P. 45 incorporates and accounts for due

process considerations, and renders personal jurisdiction arguments regarding subpoenas moot.

       The Advisory Comments to Fed. R. Civ. P. 45 say the same. Specifically, the comments

recognize that the 2013 Amendments “permit nationwide service of a subpoena.” See Fed. R.



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Civ. P. advisory committee notes. However, “[t]o protect local nonparties, local resolution of

disputes about subpoenas is assured by the limitations of Rule 45(c) and the requirements . . .

that motions be made in the court in which compliance is required under Rule 45(c).” Id.

       Here, the Subpoena complied with all the requirements of Fed. R. Civ. P. 45. It issued

out of the Southern District of Ohio. Fed. R. Civ. P. 45(a)(1) and (2). The place for compliance

in the Subpoena is in Tukwila, Washington, twenty-six miles from Birch’s office. (See

Subpoena, Mot. Exh. A, Doc. 1-1). This satisfies the 100-mile requirement of Fed. R. Civ. P.

45(c)(A). That makes this Court, the Western District of Washington, the court for the district

where compliance is required. It is this Court that has the power to enforce or quash the

subpoena—not the Southern District of Ohio. And Birch is without a doubt subject to personal

jurisdiction in this Court. (See J. Birch Decl. ¶ 1, Sept. 30, 2022, Mot. Exh. B, Doc. 1-2,

hereafter, “Birch Decl.”). Birch’s concerns regarding the jurisdiction of the Southern District of

Ohio and Ohio’s long-arm statute are mooted by the language of Fed. R. Civ. P. 45 itself.

Therefore, the fact that the Subpoena issued from the Southern District of Ohio does not mean

that Birch does not need to comply with it, because it is enforced here, in the Western District of

Washington, which has personal jurisdiction over Birch. 2

               2.      The Case Law Petitioner Cites In Support Of Her Personal
                       Jurisdiction Argument Is Either Antiquated Or Inapposite.

       The case law Petitioner cites in support of her personal jurisdiction argument is wholly

inapplicable here because this Court has personal jurisdiction over Birch and can compel her




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       In making this argument, Respondents do not concede that the Southern District of Ohio
does not have personal jurisdiction over Birch. Respondents simply argue that the question of
whether the Southern District of Ohio has personal jurisdiction over her is irrelevant to her duty
to comply with a properly issued subpoena where the place of compliance is in this district—the
Western District of Washington.
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compliance with the Subpoena. Despite that fundamental flaw in Petitioner’s argument, the case

law she cites is antiquated or inapposite.

       Application to Enforce Administrative Subpoenas Duces Tecum of S.E.C. v. Knowles, 87

F.3d 413 (10th Cir. 1996), concerns an administrative subpoena issued by the Securities

Exchange Commission. Id. at 416. Because Congress authorized worldwide service under the

Securities Exchange Act, the question in Knowles was whether a Bahamian citizen had minimum

contacts with the United States such that a federal court could enforce a subpoena over him. Id.

at 417. The Tenth Circuit made clear that the only issue was whether the foreign national had

sufficient contacts with the United States. Id. This inquiry is wholly inapplicable to this case;

obviously Birch has minimum contacts with the United States. Even more, she certainly has

minimum contacts “within the district in which enforcement is sought” which is this Court. 3

       Both Ariel v. Jones, 693 F.2d 1058 (11th Cir. 1982), and Elder-Beerman Stores Corp. v.

Federated Dept. Stores, Inc., 45 F.R.D. 515 (S.D.N.Y. 1968) predate the modern Fed. R. Civ. P.

45 amendments by 31 and 45 years respectively. In Ariel v. Jones, the 11th Circuit took issue

with a federal court in Florida requiring compliance from an out-of-forum witness with a

subpoena in Florida. 693 F.2d at 1060. The court noted that an out of forum witness requires

recourse “to the district court in the district of the witness’s residence for the issuance and

enforcement of a subpoena.” Id. But the modern Fed. R. Civ. P. 45 solves this problem—it

requires the issuance of a subpoena from the forum where the action is pending, but enforcement

in the district court where the witness is located, giving the witness recourse in her local district

court. Remember that in the instant matter, the subpoena issued from the Southern District of



3
      Likewise, Gucci Am., et al v. Weixing Li, 768 F.3d 122 (2d. Cir. 2014) concerns a
subpoena to a non-U.S. citizen, and is inapplicable.

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Ohio, but the place of compliance is here in Washington. Birch was never asked to come to

Ohio, or to bring documents to Ohio. Elder-Beerman only considered whether a nonparty was

sufficiently present in the district so as to subject it to legal process there. 45 F.R.D. at 516.

That case has absolutely no bearing on the modern Fed. R. Civ. P. 45, and is also wholly

inapposite because Respondents are not requesting compliance in Ohio. They are properly

requesting compliance in this Court’s district, which has personal jurisdiction over Birch. See

Europlay Cap. Advisors, LLC v. Does, 323 F.R.D. 628, 630 (C.D. Cal. 2018).

       At bottom, Birch’s Motion is without merit. Every day, nonparty witnesses are

subpoenaed for information in cases pending nationwide—both in federal and state court. And

federal and state law provides mechanisms to allow that discovery to proceed with Due Process

considerations in mind. Accepting Birch’s argument would gut Fed. R. Civ. P. 45, hamstring

litigants throughout the country, and make complex civil litigation virtually impossible. Not

only is Birch’s Motion wrong, it’s wholly impractical. Respondents followed the letter of Fed.

R. Civ. P. 45 to the tee, and thus Birch is obligated to comply with the Subpoena. Accordingly,

Respondents request that the Court deny Birch’s Motion to Quash in total.

       B.       There Is No Basis For The Requested Protective Order.

        Should her Motion to Quash fail, Petitioner requests that the Court enter a protective

order limiting discovery to Birch’s contacts with Ohio, and expressly excluding the phrase

“arreglar sin salir.” However, beyond conclusory statements, Petitioner has not demonstrated

how the requested discovery subjects Petitioner to “annoyance, embarrassment, oppression, or

undue burden or expense,” that would entitle her to a protective order as required by Fed. R. Civ.

P. 26(c). The party seeking to limit discovery has the burden of proving “good cause,” which

requires a showing “that specific prejudice or harm will result” if the protective order is not



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granted. Schreib v. Am. Fam. Mut. Ins. Co., 304 F.R.D. 282, 284–85 (W.D. Wash. 2014).

Petitioner’s request for a protective order fails for three reasons. First, Petitioner did not meet

and confer with counsel for Respondents before requesting a protective order. Second, Petitioner

has not provided the Court with particular evidence that compliance with the Subpoena would

subject her to undue burden or expense. Third, the Subpoena has been authorized by the

Southern District of Ohio, and is narrowly tailored for its limited purpose.

       First, LCR 26 requires a movant for a protective order not only to meet and confer with

counsel, but to certify that such a meeting took place. Birch’s Motion contains no such

certification, because no such meeting took place. (Fraser Decl. ¶ 12). For that reason alone,

Birch’s request for a protective order should be denied. See Quintana v. USAA Life Ins. Co., 434

F. Supp. 3d 932, 939 (W.D. Wash. 2020).

        Next, Petitioner has not submitted any facts or evidence that demonstrate complying

with the Subpoena would subject Petitioner to undue burden. Indeed, Birch’s Motion and

declaration seem to prove the opposite. Birch claims she has no information regarding the

identity of the Doe Defendants. (Mot. at 15). Thus, it would seem reviewing and producing

documents would not be time consuming, and her deposition would be short. Respondents must

be able to cross-examine Birch on these statements, particularly given the fact that her Motion

and declaration also show that she does indeed appear to have information relevant to the

Complaint and the Doe’s identities. (Supra at 4).

       Birch claims that the identities of the Does would be best obtained from Internet

companies. But to the Stored Communications Act (the “SCA”), 18 U.S.C. §§ 2701 et seq.

prevents Internet providers like Meta and Google from disclosing the contents of the defamatory

communications. Thus, while Plaintiffs are turning to those companies to identify individuals



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who have reported them, the content of those reports, and the content of the messages

coordinating the defamatory conspiracy must come from the users themselves. Therefore,

discovery from individuals like Birch is necessary to identify the Doe defendants. 4

       Last, on its face, the Subpoena is not unduly burdensome. It seeks documents on four

specific topics for a limited time period of two years. The deposition, likewise, imposes little

burden because it is limited in scope. Because Petitioner has not supported her claims of undue

burden with any specific evidence, her request for a protective order should be denied.

       Finally, the Subpoena seeks information that is relevant to Respondents’ Complaint, and

that is the identity of the Doe Defendants. The Southern District of Ohio authorized subpoenas

of individuals “to determine the extent of those individuals’ knowledge regarding the defamatory

campaign, and their knowledge of the defamers’ identities.” (Id.). That is all that Respondents

seek from Birch. The requested information is narrow and relevant. Petitioner’s request to limit

the Subpoena to Birch’s contacts with Ohio is an irrelevant inquiry, because personal jurisdiction

is not at issue. Thus, there is no basis for the requested protective order.

       Respondents remain willing to work with Birch to facilitate the document review and are

committed to following the Order of the Southern District of Ohio, and limiting the deposition to

uncovering the identities of the Doe Defendants. Thus, the protective order requested by Birch

should be denied, and the discovery should proceed.

                                            Conclusion

       For the reasons identified above, Respondents request that the Court deny Birch’s Motion

in its entirety, and that the deposition be scheduled in December, after Birch’s maternity leave.



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       Birch argues the Southern District of Ohio did not authorize document requests.
Respondents disagree, but have petitioned the Southern District of Ohio for explicit authorization
for document requests. Respondents will update this Court with any rulings.
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Date: October 17, 2022                 Respectfully submitted,

                                          /s/ Isaac Castaneda
                                       Isaac Castaneda
                                                LEAD ATTORNEY
                                       Alexandra Lozano Immigration Law, PPLC
                                       6720 Fort Dent Way, Ste. 230
                                       Tukwila, WA 98188
                                       [PHONE NUMBER]
                                       [FAX NUMBER]
                                       isaac@abogadaalexandra.com

                                       Kirsten R. Fraser (0093951)
                                       PRO HAC VICE PENDING
                                       Organ Law LLP
                                       1330 Dublin Road
                                       Columbus, Ohio 43215
                                       614.481.0900
                                       614.481.0904 (f)
                                       kfraser@organlegal.com
                                       Attorneys for Respondents




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 17, 2022, the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system and was served on all

counsel of record.




                                                    /s/ Kirsten R. Fraser
                                                   Attorney for Respondents




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